                      IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                                WESTERN DIVISION
                               NO. 5:19-cv-00319-B0

ANTHONY THOMPSON,

               Plaintiff,

v.

BALFOUR BEATTY INFRASTRUCTURE,                         ANSWER OF DEFENDANTS
INC.; BALFOUR BEATTY                                BRANDSAFWAY SERVICES,LLC;
CONSTRUCTION,LLC; BALFOUR                           SAFWAY GROUP HOLDING,LLC;
BEATTY EQUIPMENT,LLC; BALFOUR                      BRANDSAFWAY INDUSTRIES,LLC;
ENTERPRISES,INC.; BRANDSAFWAY                      BRANDSAFWAY SOLUTIONS,LLC;
SERVICES,LLC; SAFWAY GROUP                             BRANDSAFWAY,LLC; and
HOLDINGS,LLC; BRANDSAFWAY,LLC;                       THYSSENKRUPP SAFWAY,INC.
BRANDSAFWAY INDUSTRIES,LLC;
BRANDSAFWAY SOLUTIONS,LLC;
SAFWAY,LLC;THYSSENKRUPP
SAFWAY,INC.; and SAFWAY TRANSFER
AND STORAGE,INC.,

               Defendants.


       NOW COME defendants BrandSafway Services, LLC; Safway Group Holding, LLC;

BrandSafway Industries, LLC; BrandSafway Solutions, LLC, BrandSafway, LLC and

Thyssenkrupp Safway, Inc., by and through counsel, and answer the Complaint by alleging and

stating as follows:

                                      FIRST DEFENSE


       These answering defendants deny every allegation of the Complaint not hereinafter

admitted, modified, or explained. By way of further answer, these answering defendants respond

to the specifically enumerated paragraphs of the Complaint as follows:

       1.      Admitted upon information and belief.




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       2.      It is admitted that BrandSafway Services, LLC is a foreign corporation licensed to

do business in North Carolina. Except as admitted, denied.

       3.      It is admitted that Safway Group Holdings, LLC is a foreign corporation licensed

to do business in North Carolina. Except as admitted, denied.

       4.      It is admitted that BrandSafway, LLC is a foreign corporation licensed to do

business in North Carolina. Except as admitted, denied.

       5.      It is admitted that BrandSafway Industries, LLC is a foreign corporation licensed

to do business in North Carolina. Except as admitted, denied.

       6.      It is admitted that BrandSafway Solutions, LLC is a foreign corporation licensed

to do business in North Carolina. Except as admitted, denied.

       7.      Denied.

       8.      Denied.

       9.      Denied.

       10.     It is admitted that BrandSafway Services, LLC is in the business of providing

industrial services including scaffolding on job construction sites from time to time. Except as

admitted, denied.

       1 1-15. The allegations of paragraphs 11-15 are directed to defendants other than these

answering defendants and, as such, require no response of these answering defendants. To the

extent the allegations of paragraphs 11-15 allege the breach of any legal duty by these answering

defendants, their employees or agents, the same are denied.

       16-18. Denied for lack ofinformation.




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          19.   It is admitted that BrandSafway Services, LLC is in the business of providing

industrial services including scaffolding on job construction sites from time to time. Except as

admitted, denied.

       20.      Denied for lack ofinformation.

       21.      It is admitted that BrandSafway Services, LLC is in the business of providing

industrial services including scaffolding on job construction sites from time to time. Except as

admitted, denied.

       22-23. Denied for lack ofinformation.

       24.      It is admitted that BrandSafway Services, LLC is in the business of providing

industrial services including scaffolding on job construction sites from time to time. It is

specifically denied that "Mike" was an employee or agent of BrandSafway Services, LLC. The

remaining allegations of paragraph 24 call for legal conclusions to which no response is required

ofthese answering defendants. To the extent the allegations of paragraph 24 allege the breach of

any legal duty by these answering defendants, their employees or agents, the same are denied.

       25-30. Denied for lack ofinformation.

        31.     These answering defendants re-allege and incorporate by reference prior

responses as if fully set forth.

        32.     Denied,including all subparts.

        33.     The allegations of paragraph 33 call for legal conclusions to which no response is

required of these answering defendants. To the extent the allegations of paragraph 33 allege the

breach of any legal duty by these answering defendants, their employees or agents, the same are

denied.

          34.   Denied,including all subparts.




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       35.       The allegations of paragraph 35 call for legal conclusions to which no response is

required of these answering defendants. To the extent the allegations of paragraph 35 allege the

breach of any legal duty by these answering defendants, their employees or agents, the same are

denied.

       36.       Denied.

       37.       Denied, including all subparts.

       38.       Denied.

                                      SECOND DEFENSE
                                   (Contributory Negligence)

          As a second and further defense, and without waiving any other defenses, these

answering defendants allege that even if they were negligent, which is again denied, then

plaintiff's own negligence was a contributing proximate cause of his injuries and ofthe damages

sought to be recovered in this action in that, upon information and belief, plaintiff failed to

exercise reasonable care for his own safety; failed to follow and adhere to established safety

practices and guidelines for ascending and descending scaffolding; failed to review safety

instructions and warnings that were provided with the subject scaffolding; failed to follow safety

instructions and warnings that were provided to him; and was contributorily negligent in such

other respects as may be adduced through discovery or at trial. The contributory negligence of

plaintiff is asserted in complete bar of any recovery in this action.

                                       THIRD DEFENSE
                                     (Employer Negligence)

          As a fourth and further defense, and without waiving any other defenses, these answering

defendants allege that, upon information and belief, plaintiff was employed by and acting within

the course and scope of his employment with Contaminant Control, Inc. at the time of the




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incident which is the subject of this suit; and that Contaminant Control, Inc., by and through its

employees and agents, was also negligent and that such negligence joined and concurred with the

alleged but denied negligence of these answering defendants as a proximate cause of the incident

which is the subject of this suit.

        More particularly, these answering defendants allege that Contaminant Control, Inc.

failed to adequately train and/or instruct plaintiff as to established safety precautions and

procedures to be exercised while working on scaffolding; failed to provide plaintiff with the

safety instructions and warnings provided with the scaffolding; failed to require plaintiff to

review the safety instructions and warnings provided with the scaffolding; failed to confirm that

plaintiff reviewed the safety instructions and warnings provided with the scaffolding to ensure

that plaintiff understood the safety instructions and warnings; failed to adequately train and/or

instruct the employees with whom plaintiff was working on the day in question, including

plaintiff's supervisor, as to established safety precautions and procedures to be exercised while

working on scaffolding; failed to provide the employees with whom plaintiff was working on the

day in question, including plaintiff's supervisor, with the safety instructions and warnings

provided with the scaffolding; failed to require the employees with whom plaintiff was working

on the day in question, including plaintiff's supervisor, to review the safety instructions and

warnings provided with the scaffolding; failed to confirm that the employees with whom plaintiff

was working on the day in question, including plaintiff's supervisor, reviewed the safety

instructions and warnings provided with the scaffolding to ensure that they understood the safety

instructions and warnings; and was negligent in such other respects as may be adduced through

discovery or at trial.




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       These answering defendants allege that the negligence of Contaminant Control, Inc., by

and through its employees and agents, joined and concurred with the alleged but denied

negligence of these answering defendants in proximately causing the incident which is the

subject of this suit and, pursuant to the provisions of N.C. Gen. Stat. §97-10.2(e), Contaminant

Control, Inc., as plaintiff's employer, and such employer's worker's compensation carrier are

barred from any recovery for which they would otherwise be entitled under the provisions of the

North Carolina Worker's Compensation Act. Further, these answering defendants allege that

they are entitled to a pro tanto reduction, setoff or credit against any award in the amount of any

worker's compensation benefits paid to date or payable in the future.

                                        FOURTH DEFENSE

       As a fourth and further defense, and without waiving any other defenses, these answering

defendants and the undersigned counsel allege that their investigation of the allegations of the

Complaint is ongoing, and these answering defendants and the undersigned counsel reserve the

right to assert such additional defenses as may become apparent through discovery and further

investigation.

       WHEREFORE,these answering defendants pray unto the Court:

       1.        That plaintiff have and recover nothing ofthese answering defendants;

       2.        That any award in favor of plaintiff and against these answering defendants be

reduced pro tanto by the amount of any worker's compensation benefits paid to plaintiff or

payable in the future;

       3.        That the costs of this action be taxed to a party or parties other than these

answering defendants as allowed by law;

       4.        That these answering defendants receive a jury trial as to all issues so triable; and




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5.      For such other and further relief as to the Court may seem just and proper.



This the 31st day of July, 2019.


                                      YOUNG MOORE AND HENDERSON P.A.


                                      BY:            /s/ Brian 0.Beverly
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                                                     BrandSafway, LLC; and
                                                     Thyssenkrupp Safway, LLC




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                                CERTIFICATE OF SERVICE

        The undersigned attorney hereby certifies that he served the foregoing document upon the
attorney(s) shown below by depositing a copy of same in the United States mail, postage prepaid,
addressed to said attorney(s).

       This the 31st day of July, 2019.

                                            YOUNG MOORE AND HENDERSON P.A.

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